     Case 3:03-cr-00160-HTW-JCS           Document 104         Filed 04/01/09   Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  JACKSON DIVISION

UNITED STATES OF AMERICA,


v.                                                    CRIMINAL NO. 3:03cr160WN

TAMMY DEFUNA

                                    ORDER OF DISMISSAL

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of Court

endorsed herein, the United States Attorney for the Southern District of Mississippi hereby

dismisses the Criminal Indictment against TAMMY DEFUNA without prejudice.

                                                      STAN HARRIS
                                                      Acting United States Attorney

                                              By:     s/Sandra G. Moses

                                                      SANDRA G. MOSES
                                                      Assistant U.S. Attorney
                                                      GA Bar No. 283815


       Leave of Court is granted for the filing of the foregoing dismissal.


      ORDERED this 31st day of March, 2009.

                                                      HENRY T. WINGATE
                                                      _______________________________
                                                      UNITED STATES DISTRICT JUDGE
